         Case 1:21-mj-00343-RMM Document 1-1 Filed 03/30/21 Page 1 of 8




                                     STATEMENT OF FACTS

       On January 6, 2021, permanent and temporary security barriers were in place to separate
areas where lawful first amendment activity could be conducted from areas restricted both to
prevent any adverse impact to the legislative process and to safeguard and prevent any property
damage directed at the U.S. Capitol and/or the West Front Inaugural Platform.

        These security barriers included bike racks that were positioned to the north of the U.S.
Capitol along Constitution Avenue; to the south of the U.S. Capitol along Independence Avenue;
to the west of the U.S. Capitol along First Street on the eastern side of that street; and, on the east
side of the U.S. Capitol, between the Capitol Plaza (East Front) and the grassy areas located
between the Plaza and First Street. This bounded area is hereinafter referred to as the “Restricted
Grounds.”

        Within the West Front of the Restricted Grounds there were additional temporary barriers
due to preparations and ongoing construction for the Inauguration including green snow fencing
and signage stating “Area Closed By order of the United States Capitol Police Board.” The
exterior plaza of the U.S. Capitol was also closed to members of the public. Below picture
indicates all area within the red lines designated as a secure area with no public access as
previously referenced in the “Area Closed By order of the United States Capitol Police Board.”




       Your Affiant has reviewed U.S. Capitol Surveillance Video, Open Source Videos, and
Washington, D.C. Metropolitan Police Department (“MPD”) Body Worn Camera (“BWC”)
footage capturing the events from January 6, 2021, in attempting to identify unknown subjects
who assaulted law enforcement.
       During review of MPD Officer Paul Koyejo’s BWC footage, your Affiant observed at
approximately 2:00 PM, Ofc. Koyejo was in a group of approximately 33 other MPD officers
walking through the West lawn of the United States Capitol grounds, responding to a U.S.
Capitol Police request for assistance due to an ongoing riot at the U.S. Capitol Building. All of
the MPD officers were wearing clearly marked MPD uniform markings.

        While walking through several unknown subjects who were positioned on the West lawn
of the U.S. Capitol Building, an unknown subject struck an officer in the head area with a
skateboard. The officer was positioned in front of Ofc. Koyejo:
                                                   1
        Case 1:21-mj-00343-RMM Document 1-1 Filed 03/30/21 Page 2 of 8




       The Koyejo BWC footage shows that the subject appears to be a white male,
approximately 20-30 years of age, brown or black in color hair (long), average build, unshaven
face (small amount of facial hair on face), wearing a red jacket, a dark in color stocking cap with
an unknown letter on hat, a black and white in color plaid shirt, and a bandana around his neck.
The skateboard used by the unknown subject had the words “White Fang” written in white on the
top portion of the skateboard.

        Your Affiant provided Ofc. Koyejo’s BWC footage to the MPD, which identified the
officer who was struck by the unknown subject as Officer Christopher Boyle of the MPD Fourth
District.


                                                2
        Case 1:21-mj-00343-RMM Document 1-1 Filed 03/30/21 Page 3 of 8




        On January 15, 2021, Ofc. Boyle was interviewed. Ofc. Boyle reported responding to the
U.S. Capitol Building on January 6, 2021. While responding to the West side of the U.S.
Capitol, Ofc. Boyle and members of his Civil Disturbance Unit (“CDU”) were navigating a
crowd of unknown subjects when one of the unknown subjects struck Ofc. Boyle in the head
with a skateboard.

        Ofc. Boyle described the unknown subject as a white male, medium-length, long, brown
hair, mid-20s, wearing a red jacket, white and black plaid shirt, and dark colored jeans.

       Ofc Boyle sustained a concussion and injury to his right pinky finger.

        A review of Ofc. Boyle’s BWC during the pertinent time shows the unknown subject
assault Ofc. Boyle with the skateboard, but due to the position of Ofc. Boyle’s BWC it was
unable to capture the skateboard hitting Ofc. Boyle in the head area:




                                               3
        Case 1:21-mj-00343-RMM Document 1-1 Filed 03/30/21 Page 4 of 8




       Your Affiant captured a still image from the Boyle BWC of the unknown subject and
included the unknown subject on the FBI Wanted Poster for Assault on Federal Officers from the
U.S. Capitol riots on January 6, 2021. The unknown subject is listed in the FBI Wanted Poster
as Subject 109. The still image is as follows:




        On February 16, 2021, your Affiant was reviewing the Twitter page of
@SeditionHunters. This Twitter page is operated by a private citizen who is actively attempting
to assist Federal Law Enforcement in identifying subjects listed in the FBI Wanted Posters.

      During a review of @SeditionHunters Twitter page, Affiant reviewed a picture from the
Wanted Poster that included other pictures that appeared to be of the same unknown individual:




                                               4
        Case 1:21-mj-00343-RMM Document 1-1 Filed 03/30/21 Page 5 of 8




       On February 16, Affiant conducted an image search of the clearer picture obtained from
@SeditionHunters, and via an open source search, located an Instagram Profile belonging to
Instagram user grady_owens_, which had an Instagram identification number of 852472137.




        Further review of the Instagram profile picture of user grady_owens_, identified the
stocking cap worn in the profile picture appeared to be the same stocking cap with an unknown
letter worn by the unknown subject during the assault on federal officer occurring on January 6,
2021.

       On February 16, 2021, Instagram was served with a preservation letter under 18 U.S.C.
§ 2703(f) related to grady_owens_, Instagram identification number of 852472137.

       Your Affiant conducted an open-source search of vehicles registered to GRADY
OWENS and discovered a 2002 Toyota Sequoia with Texas registration plates registered to a
GRADY OWENS and a JASON OWENS. Additional investigation discovered a silver 2005
Honda Element, Texas plate LRT-8760, registered to JASON OWENS, was being captured on
License Plater Readers (“LPR”s) at an apartment complex identified as Solis at Winter Park, in
Winter Park, Florida, and in a parking lot of Full Sail University in Winter Park, Florida.


                                                5
        Case 1:21-mj-00343-RMM Document 1-1 Filed 03/30/21 Page 6 of 8




       On March 1, 2021, FBI Tampa Field Office Special Agent (“SA”) Jonathan Hannigan
met with property management from Solis at Winter Park Apartment Complex who confirmed a
GRADY OWENS is the lease holder and resides at the apartment complex in unit 1428. JASON
OWENS is listed as an emergency contact on the lease agreement. The lease ends April 26,
2021. The silver 2005 Honda Element with Texas plate LRT-8760 is registered as the vehicle
associated with unit 1428.

       SA Hannigan conducted a review of Instagram User grady_owens_ Instagram account,
which is open to public viewing, and noted the user was involved with Music Production courses
of study at Full Sail University.

       On March 2, 2021, SA Hannigan met with a security employee of Full Sail University,
who identified possible faculty associated with GRADY OWENS.

        On March 3, 2021 SA Hannigan met with an employee, (Witness 1), of Full Sail
University. Witness 1 was shown Instagram User grady_owens_ profile picture with all
identification removed. Witness 1 immediately identified the Instagram User as GRADY
OWENS.




      Witness 1 was then shown a picture captured from the Youtube video utilized by Twitter
@SeditionHunters. No identifiable information was present on the photograph shown to Witness
1. Witness 1 immediately identified the picture as GRADY OWENS.




                                              6
        Case 1:21-mj-00343-RMM Document 1-1 Filed 03/30/21 Page 7 of 8




        I learned through law enforcement contacts that GRADY OWENS traveled to Dulles
International Airport on January 5, 2021 via United Flight number 00691, from San Antonio,
Texas. GRADY OWENS departed from Reagan National Airport on January 7, 2021 via United
Flight number 3454, to San Antonio, Texas.

        I served a Grand Jury Subpoena to United Airlines requesting information from the
flights GRADY OWENS had taken to the Washington, D.C. area.

       On March 24, 2021, United Airlines provided flight manifests and booking information
for GRADY OWENS’ ticketed travel. A review of the returned United Airlines information
revealed a JASON D. OWENS had purchased airline tickets for GRADY OWENS and JASON
D. OWENS for travel to the Washington, D.C. area.

        For the reasons set forth above, I submit there is probable cause to believe that OWENS
violated:
   1. 18 U.S.C. § 111(a) and (b), which makes it a crime to forcibly assault or interfere with
      any person designated in section 1114 of this title 18 while engaged in or on account of
      the performance of official duties and uses a deadly or dangerous weapon (including a
      weapon intended to cause death or danger but that fails to do so by reason of a defective
      component). Persons designated within section 1114 include any person assisting an
      officer or employee of the United States in the performance of their official duties.

   2. 18 U.S.C. § 231(a)(3), which makes it a crime to commit or attempt to commit any act to
      obstruct, impede, or interfere with any fireman or law enforcement officer lawfully
      engaged in the lawful performance of his official duties incident to and during the
      commission of a civil disorder which in any way or degree obstructs, delays, or adversely
      affects commerce or the movement of any article or commodity in commerce or the
      conduct or performance of any federally protected function. (“Civil disorder” means any
      public disturbance involving acts of violence by assemblages of three or more persons,
      which causes an immediate danger of or results in damage or injury to the property or
      person of any other individual. “Federally protected function” means any function,
      operation, or action carried out, under the laws of the United States, by any department,
      agency, or instrumentality of the United States or by an officer or employee thereof; and
      such term shall specifically include, but not be limited to, the collection and distribution
      of the United States mails. 18 U.S.C. §232(1).

   3. 18 U.S.C. § 1752(a) and (b), which make it a crime to (2) knowingly, and with intent to
      impede or disrupt the orderly conduct of Government business or official functions,
      engage in disorderly or disruptive conduct in, or within such proximity to, any restricted
      building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
      orderly conduct of Government business or official functions; or (4) knowingly engage in
      any act of physical violence against any person or property in any restricted building or
      grounds; or attempts or conspires to do so. For purposes of Section 1752 of Title 18, a
      restricted building includes a posted, cordoned off, or otherwise restricted area of a
                                                7
        Case 1:21-mj-00343-RMM Document 1-1 Filed 03/30/21 Page 8 of 8




       building or grounds where the President or other person protected by the Secret Service is
       or will be temporarily visiting; or any building or grounds so restricted in conjunction
       with an event designated as a special event of national significance.

   4. 40 U.S.C. § 5l04(e)(2), which makes it a crime for an individual or group of individuals
      to willfully and knowingly (D) utter loud, threatening, or abusive language, or engage in
      disorderly or disruptive conduct, at any place in the Grounds or in any of the Capitol
      Buildings with the intent to impede, disrupt, or disturb the orderly conduct of a session of
      Congress or either House of Congress, or the orderly conduct in that building of a hearing
      before, or any deliberations of, a committee of Congress or either House of Congress; or
      (F) engage in an act of physical violence in the Grounds or any of the Capitol Buildings.
    As such, your Affiant respectfully requests that the court issue an arrest warrant for
OWENS. The statements above are true and accurate to the best of my knowledge and belief.

                                                            Respectfully Submitted,



                                                            ________________
                                                            Erik Potrafka
                                                            Special Agent
                                                            Federal Bureau of
                                                            Investigation
Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 30th day of March 2021.
                                                                      2021.03.30
                                                                      15:16:42 -04'00'
                                                    ___________________________________
                                                    U.S. MAGISTRATE JUDGE




                                                8
